                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF WISCONSIN
                             MILWAUKEE DIVISION
____________________________________
LORI HELING,                         )
                                     )
            Plaintiff,               )
                                     )
v.                                   )    Case No. 15-cv-1274
                                     )
CREDITORS COLLECTION                 )
SERVICE, INC.,                       )
                                     )
            Defendant.               )
____________________________________)

                      PLAINTIFF’S RESPONSE IN OPPOSITION TO
                         DEFENDANT’S MOTION TO DISMISS

       NOW COMES the Plaintiff, LORI HELING, by and through her attorneys,

SMITHMARCO, P.C., and for her response to Defendant’s motion to dismiss, Plaintiff states as

follows:

                                       INTRODUCTION

       Plaintiff, LORI HELING (“Heling”), filed the instant action pursuant to the Fair Debt

Collection Practices Act (“FDCPA”), 15 U.S.C. §1692, et seq., seeking monetary damages

against Defendant, a third party debt collector, for its unlawful collection activities stemming

from debt allegedly owed by Heling for dental services provided to her by a non-party. In

response, Defendant filed a motion to dismiss attacking the complaint on two theories. First,

Defendant maintains Heling’s lawsuit is barred by the Rooker-Feldman doctrine, which

generally bars federal court review of a state court judgment. Second, Defendant contends that

even if there is no jurisdictional bar to the case, the affirmative defense of claim preclusion, or

res judicata, prevents Heling from proceeding. Defendant’s arguments are without merit and its

motion to dismiss should be denied in its entirety.




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                                             FACTS

       Heling, a resident of the state of Wisconsin, was sued by Defendant in state court for a

debt she allegedly owed to her former dentist. Complaint ¶¶ 4-5, 14. Never having received the

complaint as it was ostensibly served at an old address and then published after just one personal

service attempt, Heling was not aware of the state court case until a judgment had been entered

against her and a garnishment was served upon her employer. Complaint ¶¶ 15-22, 24-25. Once

discovered, Heling immediately contacted Defendant to resolve the matter and pay the debt.

Complaint ¶¶ 28, 32. It was during this communication that Defendant overstated the amount of

the outstanding debt. Complaint ¶¶ 33, 37, 40. Defendant further misled Heling when it

represented that, despite her requests and even with full payment of the debt, the judgment

against her could not be vacated because it had been published. Complaint ¶¶ 38-41. Defendant

also failed to provide Heling with written confirmation thereof as required under §1692g(a) of

the FDCPA within 5 days of its initial communication to collect the debt. Complaint ¶ 42.

Heling thereafter filed the instant lawsuit against Defendant for its violations of the FDCPA.

       In response to Heling’s complaint, Defendant has moved for dismissal on the grounds

that this Court lacks jurisdiction to adjudicate these claims by virtue of the bar of the Rooker-

Feldman doctrine and claim preclusion, i.e. res judicata.

                                     LEGAL STANDARD

       Defendant’s motion is governed by two standards, Fed.R.Civ.P. 12(b)(1) and (b)(6). A

motion to dismiss based upon the Rooker-Feldman doctrine is subject to review under

Fed.R.Civ.P. 12(b)(1).1



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  Defendant erred in referring only to Fed.R.Civ.R. 12(b)(6) as the standard that the Court must
use in deciding its motion to dismiss. While Rule 12(b)(6) does apply to the defense of res
judicata, it is Rule 12(b)(1) which governs a motion to dismiss for lack of subject matter


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         When ruling on a motion to dismiss for lack of subject-matter jurisdiction, the “district

court must accept as true all well-pleaded factual allegations and draw all reasonable inferences

in favor of the plaintiff.” Long v. Shorebank Dev. Corp., 182 F.3d 548, 554 (7th Cir. 1999)

(citing Rueth v. United States EPA, 13 F.3d 227, 229 (7th Cir. 1993)). “‘The district court may

properly look beyond the jurisdictional allegations of the complaint and view whatever evidence

has been submitted on the issue to determine whether in fact subject matter jurisdiction exists.’”

Long, 182 F.3d at 554 (quoting Capitol Leasing Co., v. FDIC, 999 F.2d 188, 191 (7th Cir. 1993)

(per curiam)).

         The issue of claim preclusion is reviewed under Rule 12(b)(6). To survive such a motion,

the plaintiff must plead “enough facts to state a claim for relief that is plausible on its face,” and

more than merely a “suspicion” of a legally cognizable claim. Bell Atlantic Corp. v. Twombly,

550 U.S. 544, 127 S.Ct. 1955, 1964-65, 1974 (2007). As with Rule 12(b)(1) though, the court

must accept all well-pleaded facts as true and draw all reasonable inference from those facts in

the plaintiff’s favor. Buford v. Palisades Collection, LLC, 552 F.Supp.2d 800, 804 (N.D. Ill.

2008).

                                           ARGUMENT

I.       The Rooker-Feldman Doctrine does not divest this court of jurisdiction because
         Heling’s claims are independent of the state court judgment as they arise from
         Defendant’s illegal post-judgment collection activities and do not seek to upset the
         state court judgment.

         Defendant contends that this case should be dismissed for lack of subject matter

jurisdiction because Heling attempts to circumvent the judicial process by challenging the state



jurisdiction, such as the Rooker-Feldman doctrine defense. See Crawford v. Countrywide Home
Loans, Inc., 647 F.3d 642, 645 (7th Cir. 2011) (Rooker-Feldman doctrine is jurisdictional in
nature); Freedom Mortg. Corp. v. Burnham Mortg., Inc., 569 F.3d 667, 670 (7th Cir. 2009);
Gonzalez v. Kohn Law Firm, S.C., 2015 WL 5794157, *1 (E.D. Wis. Oct. 2, 2015).


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court judgment in federal district court. The Rooker-Feldman doctrine is an oft used but

frequently misrepresented bar to the re-litigation of state court claims. The doctrine is the result

of two Supreme Court cases, Rooker v. Fidelity Trust Co., 263 U.S. 413 (1923), and District of

Columbia Court of Appeals v. Feldman, 460 U.S. 462 (1983). At the heart of these cases is the

recognition that lower federal courts generally do not have the power to exercise appellate

review over state court decisions. Kamilewicz v. Bank of Boston Corp., 92 F.3d 506, 509 (7th

Cir. 1996). The Rooker-Feldman doctrine prevents “state-court judgment losers [from]

complaining of injuries caused by state-court judgments rendered before the district court

proceedings commenced and inviting district court review and rejection of those judgments.”

Kelley v. Med-1 Solutions, LLC., 548 F.3d 600, 603 (7th Cir. 2008) (quoting Lance v. Dennis,

546 U.S. 459, 464 (2006)).

       However, the Rooker-Feldman doctrine has a much more narrow scope than that which

Defendant requests this Court apply. “The doctrine does not prevent state-court losers from

presenting independent claims to a federal district court, even if the new claims involve

questions related to those in the original state court proceedings.” Crawford, 647 F.3d at 645

(citing Skinner v. Switzer, 562 U.S. 521, 531 (2011); Woltring v. Specialized Loan Servicing,

LLC., 2014 WL 2708581, at *3 (E.D. Wis. June 16, 2014); Polzin v. Unifund CCR Partners,

2009 WL 2474668, at *3 (E.D. Wis. Aug. 11, 2009)). Nor does the doctrine “stop a district court

from exercising subject-matter jurisdiction simply because a party attempts to litigate in federal

court a matter previously litigated in state court.” Exxon Mobil Corp. v. Saudi Basic Indus.

Corp., 544 U.S. 280, 284 (2005). “[T]he immediate inquiry is whether the federal plaintiff seeks

to set aside a state court judgment or whether he is, in fact, presenting an independent claim.’”




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Crawford, 647 F.3d at 646 (quoting Taylor v. Fed. Nat’l Mortg. Ass’n, 374 F.3d 529, 532 (7th

Cir. 2004)); Kamilewicz, 92 F.3d at 510; Garry v. Geils, 82 F.3d 1362, 1365-66 (7th Cir. 1996).

       In the present case, the Rooker-Feldman doctrine does not apply because Heling’s

complaint seeks only redress for Defendant’s post-judgment illegal collection activities and not

to upset or overturn the state court judgment. The foundation for this position lies in this Court’s

very own opinion, issued less than two months ago, captioned Andress v. Daubert Law Firm

LLC., 2015 WL 7114627 (E.D. Wis. Nov. 13, 2015). The Andress opinion is a venerable

roadmap for navigating the Rooker-Feldman doctrine waters. 2 As long as the plaintiff is not

attacking the state court judgment itself, but rather the defendant’s efforts to collect, the Rooker-

Feldman doctrine does not apply. Id. at *9; see e.g., Richardson v. Koch Law Firm, P.C., 768

F.3d 732, 733-34 (7th Cir. 2014); Nora v. Residential Funding Co., LLC, 543 Fed.Appx. 601,

602 (7th Cir. 2013) (citing Kelley, 548 F.3d at 603-04; Taylor, 374 F.3d at 533; Long, 182 F.3d

at 556; Crawford, 647 F.3d at 645; Gonzalez, 2015 WL 5794157, at *9-10); see also Jung v.

Cottonwood Financial, 2014 WL 4796756, at *3 n.6 (W.D. Wis. Sept. 26, 2014).

       In Andress, the plaintiff, a judgment debtor, brought a federal lawsuit against the

creditor’s law firm and one of its attorneys alleging that they violated the FDCPA and certain

debt-collection provisions of the Wisconsin Consumer Act (“WCA”) before and after the entry

of a state court judgment against the plaintiff. 2015 WL 7114627, at *1. The defendants, on

behalf of the creditor, sued plaintiff for default on a personal loan. The defendants filed proof of

service of the complaint and subsequently obtained a default judgment. Id. The plaintiff



2 It has been suggested that the Andress opinion be regarded as a treatise on the subject of the
Rooker-Feldman doctrine with daily reading of it highly suggested. Pagel, Briane, Debt
Collection: The Rooker-Feldman Doctrine Doesn’t Bar Every Claim Reduced to A Judgment,
Nov. 17, 2015, http://www.familyandconsumerlaw.com/2015/11/debt-collection-rooker-
feldman-doctrine.html.


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challenged the judgment in the state court arguing faulty service and other various defenses. Id.

at *1-2. Ultimately the state court ruled the judgment valid and the judgment creditor, by way of

its counsel, began collection activities to enforce the judgment by means of two garnishments.

Id. at *2. The plaintiff then filed a federal lawsuit pursuant to the FDCPA and the WCA arguing

the following violations: (1) the defendants did not properly serve him; (2) they should not have

sued him in state court because they could not substantiate the alleged debt; (3) they made

misrepresentations in state court; (4) they called the plaintiff’s home and employer despite being

instructed not to do so; and (5) the attorney defendant called the plaintiff using dehumanizing

tactics, including yelling, screaming and intimidating the plaintiff. Id. at *2-3.

        The defendants moved to dismiss the federal complaint pursuant to the Rooker-Feldman

doctrine among other reasons unrelated to the instant case. Id. Analyzing Seventh Circuit law,

this Court determined that there were two separate boxes into which FDCPA claims like the

plaintiff’s might fall; the first being claims that directly challenge state court judgments or

garnishment orders, and the second box includes claims that might relate to a state court

judgment or garnishment order, or that occurred before and existed independent of the judgment

or order. Id. at *6 (internal citations omitted). Turning to its analysis of the plaintiff’s claims, this

Court concluded that the first three alleged violations, including allegations of faulty service,

were barred by the Rooker-Feldman doctrine because the plaintiff had the opportunity to

challenge those issues regarding service. Id. at *7. However, this Court also concluded that the

Rooker-Feldman doctrine might not bar the plaintiff’s remaining two classes of alleged

violations, specifically the telephone calls to his home and employer and the alleged harassment

while attempting to collect on the state court judgment. Id. at *9 (emphasis in original). Because

the plaintiff was apparently “alleging that the defendants attempted to collect the debt (either




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before the state court rendered it into a judgment or after) in an illegal manner…. then he is not

attacking the judgment itself, but rather the defendants’ efforts to collect”. Id. (emphasis added).
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    The Rooker-Feldman doctrine does not bar such claims.” Id.

         Turning to the instant case, Heling alleges Defendant, in an attempt to collect the debt,

committed the following post-judgment violations:

         1. Insisted the debt owed was in excess of the judgment amount thereby
            misrepresenting the character, amount, and/or legal status of the debt (Compl.
            ¶¶ 33-37);

         2. Insisted that the judgment could not be vacated because it had been published,
            a statement which was false and deceptive (Compl. ¶¶ 40-41, 43); and

         3. Failed and refused to provide, within 5 days of its initial communication to
            collect the debt, written documentation about the debt (Compl. ¶ 42).

As with Andress, although these allegations attack Defendant’s efforts to collect the debt, they do

not attack the state court judgment itself. 2015 WL 7114627, at *9; see also Polzin, 2009 WL

2474668, at *3-4 (defendant’s violation of the FDCPA by attempting to collect more that the

amount owed by plaintiff avoids the Rooker-Feldman bar as the plaintiff is not disputing the

judgment itself); MSK EyEs Ltd. V. Wells Fargo Bank, Nat’l Ass’n, 546 F. 3d 533, 539 (8th Cir.

2008) (it is possible to conclude the defendant committed various torts in enforcing the state

court judgment without concluding the judgment itself is invalid thereby making these claims

independent and not barred by Rooker Feldman). Further, while Heling mentions the

questionable service of the state court complaint she is not making it an allegation of violation of

the FDCPA. Heling’s reference to the issues with service provides only background information

helping lay the groundwork for how and why the case escalated to where it is today.



3(citing Richardson, 768 F.3d at 733-34; Nora, 543 Fed.Appx. at 602 (citing Kelley, 548 F.3d at
603-04; Taylor, 374 F.3d at 533; Long, 182 F.3d at 556; Crawford, 647 F.3d at 645; Gonzalez,
2015 WL 5794157, at *9-10)).


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       Of equal importance is the case of Buford v. Palisades Collection, LLC., 552 F.Supp.2d

800 (N.D. Ill. 2008). Therein, the plaintiffs filed a federal lawsuit against a debt collection

agency and its attorneys alleging that the defendants violated the FDCPA by filing time-barred

lawsuits. Id. at 803. The plaintiffs all owed various cellular telecommunication debts that were

purchased by the defendants and used in their state court actions. Each of the plaintiffs had a

state court judgment entered against them by default. Id. They thereafter jointly filed the federal

action complaining of violations of the FDCPA for the habitual buying of time-barred cellular

debt and illegal attempts to enforce it. Id. The defendants moved to dismiss citing the Rooker-

Feldman doctrine and claim preclusion maintaining that the plaintiffs were improperly asking the

court to review their default judgments and could have made these same arguments in the state

court cases. Id. at 804. The court denied the motion to dismiss. Id. at 802, 806, and 808.

       Relying on Long, the court recognized that the defendants’ violations of the FDCPA were

accomplished before the entry of the state court judgments (and in that way distinguishable from

this instant case), and therefore, not barred. Id. at 805. However, and more importantly, the court

concluded that the plaintiffs’ federal claims were distinct from the state court cases because,

unlike the state cases, the federal issue was not whether the plaintiffs owed the debt to the

defendants, but whether the defendants violated the FDCPA in how they attempted to collect that

debt. Id. “Thus, Plaintiffs are not simply asking the Court to review the default judgments against

them, but are alleging separate injuries under the FDCPA.” Id. at 805-06.

       For purposes of applicability of the Rooker-Feldman doctrine, it does not matter whether

the violations of the FDCPA occurred prior to or after the entry of the state court judgment, see

Andress, 2015 WL 7114627, at *9, but whether the defendant violated the FDCPA in its

activities to collect the debt. Buford, 552 F.Supp.2d at 805. Additionally, the Buford court went




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further and recognized that it was possible for a plaintiff to deny the correctness of a state court

judgment while pursing its FDCPA claims without thereby requesting direct review of the state

court judgment. Id. at 806. As such, in the case at hand, Defendant will not succeed in defeating

Heling’s claims by focusing on the entry of the state court judgment. Moreover, the fact that

Heling’s pursuit of her FDCPA claims could ultimately show the state court judgment was

erroneous does not render the Rooker-Feldman doctrine applicable. See Buford, 552 F.Supp.2d at

806. This case fits squarely within both Andress’ and Buford’s framework.

       Defendant’s next assertion that Heling’s claims are “inextricably intertwined” with the

state court judgment holds very little weight. See Defendant’s Motion Pp. 5-6. As this Court has

already recognized, the Seventh Circuit expressly cautions against making that inquiry. Andress,

2015 WL 7114627, at *9 (citing Richardson, 768 F.3d at 734 (“[w]e are skeptical about the

wisdom of asking whether something is ‘intertwined’ (‘inextricably’ or extricably) with a state

court’s judgment”). “Asking whether something is ‘inextricably intertwined’ can result in an

overly-broad application of Rooker-Feldman that ignores the doctrine’s underlying principles of

comity, federalism, and finality.” Gonzalez, 2015 WL 5794157, at *8. Therefore, this line of

examination is no longer determinative of subject matter jurisdiction. See Id.

        Moreover, Defendant’s reliance on Taylor, to prove that Heling’s instant case

“inextricably intertwined” with her state court action is misplaced. Therein, as Defendant

recognized, the judgment debtor’s federal lawsuit for monetary damages for fraud and violations

of the Equal Credit Opportunity Act allegedly occurring during a state court foreclosure action

was barred by the Rooker-Feldman doctrine. Id. at 534. However, the critical factor in that

determination was that the relief the plaintiff sought was compensatory damages in an amount of




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the value of her lost home. Id. This demonstrated to the court that her alleged injury was the loss

of her home and not an independent injury arising from the acts of the defendant. Id.

       The damages sought by Heling in this case include the requisite $1,000.00 statutory

penalty plus actual damages awarded as a result of Defendant’s post-judgment collection

activities which, as outlined specifically in the Complaint, violated the FDCPA. Nowhere in the

Complaint does Heling attempt to attach the damages sought to any injury caused by or amount

of the state court judgment. See Johnson v. CGR Services, Inc., 2005 WL 991770, at *5 (N.D. Ill.

Apr. 7, 2005) (plaintiff’s injuries for violation of the FDCPA in the form of statutory damages

are distinct from the garnished wages resulting from the state court judgment). Applying the

principles cited above, it is clear that Heling’s federal complaint against Defendant for the

violation of the FDCPA is wholly independent of the state court judgment.

II.    Plaintiff’s claims are not barred by claim preclusion.

       It is undisputed that, when considering the issue of claim preclusion, Wisconsin

principles apply. In re Dollie’s Playhouse, Inc., 481 F.3d 998-1000-1001 (7th Cir. 2007). As

Defendant properly represents, a final judgment on the merits rendered by a court of competent

jurisdiction acts as a bar to a subsequent suit between the parties or their privies involving the

same causes of action. Defendant’s Motion p.9 (citing Northern States Power Co. v. Bugher, 189

Wis.2d 541, 550 (1995)). Wisconsin law, like federal law, has three requirements that must be

satisfied for claim preclusion to take effect: (1) an identity of the parties or their privies; (2) an

identity of the causes of action; and (3) a final judgment on the merits rendered by a court of

competent jurisdiction. Northern States Power, 189 Wis.2d at 551.

       The issue for this Court to decide is whether there is an identity of the causes of action.

Wisconsin follows the “transactional approach” to determine the identity between the two causes




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of action. However, the transactional approach is not capable of a “mathematically precise

definition,” and determining what factual grouping constitutes a “transaction” is not always easy.

Kruckenberg v. Harvey, 279 Wis.2d 520, 532 ¶ 25 (Wis. 2005) (quoting Restatement (Second) of

Judgments §24(2), cmt. b (1982)).

       Defendant here asserts that Heling’s claims are barred by claim preclusion (or res

judicata) because they fail the “transactional” test. There are two cases that directly contradict

the reasoning Defendant asks this Court to adopt. See Buford, 552 F.Supp.2d at 807-808;

Whitaker v. Ameritech Corp., 129 F.3d 952 (7th Cir. 1997).4

       Besides the Rooker-Feldman challenge, the court in Buford also had to determine

whether the plaintiffs’ FDCPA claims were barred by res judicata. The court concluded that the

FDCPA and the prior state collection case did not arise out of the same transaction. 552

F.Supp.2d at 808. The state actions were the result of the plaintiffs’ incurring debt while the

FDCPA claims arose out of billing and collection activities. Id. (plaintiffs’ state court actions

arose out of their cellular telephone use, the heart of their federal claims is that the defendants

injured them in the debt collection process). The court found that the injury the plaintiffs

complained of, to wit, buying time-barred debt and filing suit to collect, “is the type that the

FDCPA was designed to remedy: protecting consumers from the unscrupulous antics of debt

collectors, irrespective of whether a valid debt actually exists.” Id. at 808 (citing Adair v.

Sherman, 230 F.3d 890, 895-96 (7th Cir. 2000) (citing Keele v. Wexler, 149 F.3d 589, 594 (7th

Cir. 1998)). As the FDCPA claim sought statutory and actual damages for the violation of the

FDCPA’s prohibition on using unfair or unconscionable means to collect or attempt to collect a



4 While these cases, as they relate to claim preclusion, are decided using Illinois standards, those
standards are the exact same as used in Wisconsin. Both states use the same “transactional
approach” to determine whether there is identity between the two causes of action.


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debt, it did not seek to have the state court judgments vacated. Moreover, as the set of fact

underlying the state and federal cases do not comprise the same cause of action, the plaintiffs’

claims are not barred by claim preclusion. Buford, 552 F.Supp.2d at 808. Therefore, the FDCPA

claim constitutes a separate transaction from the state court lawsuits and is not barred by res

judicata. Id.

        Similarly, in Whitaker, the court concluded that debt attachment and debt collection are

matters separated by time and purpose and therefore do not satisfy the “transactional” test. 129

F.3d at 958. “To lump debt attachment and debt collection together as the same cause of action

under the res judicata analysis is to give res judicata broader sweep than we believe the Illinois

courts are willing to give it.” Id. at 958. While the defendant should be able to reasonably rely on

its state court judgment, it should also expect that its “obligation to comport with other law in its

debt collection practices is not extinguished when a court determines that a debt is valid.” Id.

at 958. (Emphasis added).

        Defendant’s attempts to distinguish Whitaker are nonsensical and fly in the face of

Andress, Buford, Whitaker, and all of the cases relied upon therein. Despite Defendant’s attempts

to simplify the facts, allegations related to its post-judgment activities in collecting the debt are

independent of the state court action.

        Finally, Defendant’s reliance on Byrd v. Homecoming Financial Network, 407 F.Supp.2d

937 (N.D.Ill. 2005), for claim preclusion is misguided. The Byrd plaintiff had a state court

judgment entered against her as a result of her defaulting on her mortgage payments. Id. at 939.

The plaintiff filed bankruptcy, but due to a material default the bankruptcy case was dismissed

and an order of possession for her house was granted to the defendant. Id. at 940-41. The

plaintiff then sued the defendant alleging violations committed while servicing her mortgage. Id.




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at 938. The court found that the plaintiff’s federal lawsuit was barred pursuant to the Rooker-

Feldman doctrine and res judicata. Id. at 938. Because the plaintiff’s claims collaterally attacked

the state court judgment of foreclosure, the Rooker-Feldman doctrine applied. Id. Using that, the

Byrd court then concluded that the transaction at issue in the two actions was the same because

the actions were “inextricably linked”. Id. at 945.

       However, as this Court in its Andress opinion already recognized, the Seventh Circuit

discourages courts from using that theory as a basis for barring claims. Andress, supra at *9; see

Gonzalez, 2015 WL 5794157, at *8. Moreover, and similar instead to the facts in Buford and

Whitaker, the violations in the instant case are distinct in time and purpose from the debt

attachment action which resulted in the state court judgment. Unlike Byrd, the violations of the

FDCPA have nothing to do with whether Heling owes the debt or the actions taken by Defendant

in the state court case. The Defendant’s responsibility to follow the law in its debt collection

activities did not end with the entry of the state court judgment and Heling is permitted to take

Defendant to task for its violations.

                                         CONCLUSION

       For the foregoing reasons, the Motion to Dismiss should be denied in its entirety.

                                                            Respectfully submitted,
                                                            LORI HELING

                                                      By:     s/ David M. Marco
                                                              Attorney for Plaintiff
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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF WISCONSIN
                             MILWAUKEE DIVISION

LORI HELING,                                )
                                            )
                      Plaintiff,            )      2:15-cv-01274-JPS
                                            )
       v.                                   )      Judge Stadtmueller
                                            )      Magistrate Judge Jones
CREDITORS COLLECTION                        )
SERVICE, INC.,                              )
                                            )
                      Defendant.            )

                                   CERTIFICATE OF SERVICE

To: David M McDorman
    McDorman Law Office
    2923 Marketplace Drive, Suite 100
    Madison WI 53719

       I, David M. Marco, an attorney, certify that on January 11, 2016, I shall cause to be
served a copy of Plaintiff’s Response in Opposition to Defendant’s Motion to Dismiss, upon
the above named individual(s) by: depositing same in the U.S. Mail box at 20 South Clark Street,
Suite 2120, Chicago, IL 60603, prior to 5:00 p.m., postage prepaid; messenger delivery; Federal
Express; facsimile transmitted from (888) 418-1277; email; and/or electronically via the Case
Management/Electronic Case Filing system (“ECF”), as indicated below.

              U.S. Mail                                   X      ECF
              Messenger Delivery                                 Email

                                                    By:       s/ David M. Marco
                                                              Attorney for Plaintiff
   Dated: January 11, 2016

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